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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION


   UNITED STATES OF AMERICA,                        )
                                                    )
                   Plaintiff,                       )
                                                    )
          v.                                        )     NO. 2:15CR72- PPS/APR
                                                    )
   ALDON PEREZ,                                     )
                                                    )
                   Defendant.                       )


                                               ORDER


          No objections have been timely filed to the report and recommendation of United States

  Magistrate Judge Andrew P. Rodovich concerning defendant Aldon Perez’s plea of guilty.

  Without objection, then, I adopt Judge Rodovich’s findings that defendant understands the

  matters enumerated in Fed.R.Crim.P. 11(b)(1), that defendant is competent to enter a plea of

  guilty, that defendant voluntarily wishes to plead guilty to the charge against him, and that there

  exists a factual basis for the plea.

          ACCORDINGLY:

          Judge Rodovich’s Findings and Recommendation [DE1032] are ACCEPTED AND

  ADOPTED.

          Defendant Aldon Perez’s plea of guilty to Count 1 of the Third Superseding Indictment, a

  charge of Conspiracy to Participate in Racketeering Activity, in violation of 18 U.S.C. §1962(d),

  is ACCEPTED, and he is adjudged guilty of that offense.

          The sentencing of Aldon Perez will be set by further order.
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        SO ORDERED.

        ENTERED: October 6, 2017.

                                    /s/ Philip P. Simon
                                    PHILIP P. SIMON, JUDGE
                                    UNITED STATES DISTRICT COURT




                                        2
